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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA


  Eric Rayonn Rowls,                   )                  C/A No.: 0:20-cv-0979 DCN
                                       )
                           Petitioner, )
                                       )
              vs.                      )                          ORDER
                                       )
  W.E. Mackelburg, Warden,             )
                                       )
                           Respondent. )
  ____________________________________)


          On April 27, 2020, the Magistrate Judge issued a Report and Recommendation in the

  above-referenced case, recommending that the case be dismissed without prejudice and without

  requiring respondent to file a return. Petitioner filed a total of seven motions for extension of time

  to submit objections to the Report and Recommendation, as he had been relocated to another

  facility and his property had not yet been returned to him. The last motion for extension of time

  was filed January 21, 2021, and the court granted the extension through April 1, 2021. On April

  6, 2021, this court issued an Order adopting the Magistrate Judge’s Report and Recommendation,

  noting that no objections had been submitted and no motion for extension of time had been filed.

  Judgment was entered in this case by the Clerk of Court on April 7, 2021.

          On April 2, 2021, the court received Mr. Rowls’s complaint for a new case. Within this

  complaint, he requested an extension of time to file objections to the Report and

  Recommendation. Now therefore,

          IT IS HEREWITH ORDERED that this court’s Order filed on April 6, 2021, dismissing

  the case without prejudice and without requiring respondent to file a return, and the judgment

  filed on April 7, 2021, are herewith VACATED, and this matter is herewith reopened so that the
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  court may consider petitioner’s objections to the Report and Recommendation.

          Objections to the Report and Recommendation are due no later than September 1,

  2021.

          AND IT IS SO ORDERED.


                                                    David C. Norton
                                                    United States District Judge
  June 1, 2021
  Charleston, South Carolina
